             Case MDL No. 2997 Document 38-2 Filed 03/23/21 Page 1 of 3



                   BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTIDISTRICT LITIGATION


IN RE: BABY FOOD MARKETING, SALES                         MDL DOCKET NO. 2997
PRACTICES AND PRODUCTS LIABILITY
LITIGATION


                                 CERTIFICATE OF SERVICE

       In compliance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, I hereby certify that copies of the foregoing Notice of Appearance

by Lori G. Feldman, Esq., the accompanying Schedule of Actions, and this Certificate of Service

were served electronically via the JPML ECF system on March 23, 2021 on the following counsel

of record:



Dean N. Panos                                          Dale J. Giali
JENNER & BLOCK                                         Keri E. Borders
353 N. Clark Street                                    Rebecca B. Johns
Chicago, IL 60654-3456                                 MAYER BROWN LLP
dpanos@jenner.com                                      350 South Grand Avenue, 25th Floor
Attorney for Hain Celestial Group d/b/a                Los Angeles, CA 90071-1503
Earth’s Best Organics                                  dgiali@mayerbrown.com
                                                       kborders@mayerbrown.com
                                                       rjohns@mayerbrown.com
                                                       Attorneys for Plum PBC

Hope Freiwald                                          Mark Cheffo
DECHERT LLP                                            DECHERT LLP
2929 Arch Street,                                      1095 Avenue of the Americas,
Philadelphia, PA 19104-2808                            New York, NY, 10036-6797
hope.freiwald@dechert.com                              mark.cheffo@dechert.com
Attorney for Plum PBC                                  Attorney for Plum PBC




                                                   1
             Case MDL No. 2997 Document 38-2 Filed 03/23/21 Page 2 of 3




   Christina Sarchio                          Kathleen E. McCarthy
   DECHERT LLP                                KING & SPALDING LLP
   1900 K Street, NW,                         1185 Avenue of the Americas
   Washington, DC, 20006-1110                 New York, NY 10036
   christina.sarchio@dechert.com              kmccarthy@kslaw.com
   Attorney for Plum PBC                      Attorney for Beech-Nut Nutrition Company

   Livia Anne McCammon Kiser                  Negin Hadaghian
   KING & SPALDING LLP                        DLA PIPER LLP (US)
   110 N. Wacker Dr., Suite 3800              1251 Avenue of the Americas, 27th Floor
   Chicago, IL 60606                          New York, NY 10020-1104
   Attorney for Beech-Nut Nutrition Co.       Negin.hadaghian@us.dlapiper.com
                                              Attorney for Nurture, Inc.

   Matthew R. Devine                          Arthur G. Boylan
   WHITE & CASE LLP                           Norman H. Pentelovitch
   111 S Wacker Drive                         ANTHONY OSTLUND BAER
   Suite 5100                                 & LOUWAGIE P.A.
   Chicago, IL 60606                          3600 Wells Fargo Center
   (312) 881-5400                             90 South Seventh Street
   matthew.devine@whitecase.com               Minneapolis, MN 55402
   Attorney for Gerber Products Co            Telephone: (612) 349-6969
                                              aboylan@anthonyostlund.com
                                              npentelovitch@antonyostlund.com
                                              Attorney for Gerber Products Co

   Bryan A. Merryman
   WHITE & CASE LLP
   555 South Flower Street, Suite 2700
   Los Angeles, CA 90071-2433
   (213) 620-7700
   bmerryman@whitecase.com
   Attorney for Gerber Products Co



Dated: March 22, 2021                     Respectfully submitted,

                                          /s/ Lori G. Feldman
                                          Lori G. Feldman, Esq.
                                          GEORGE GESTEN MCDONALD, PLLC
                                          102 Half Moon Bay Drive
                                          Croton-on-Hudson, New York 10520
                                          Phone: (917) 983-9321
                                          Fax: (888) 421-4173
                                          Email: LFeldman@4-justice.com
                                          E-Service: eService@4-Justice.com
                                          2
Case MDL No. 2997 Document 38-2 Filed 03/23/21 Page 3 of 3




                             David J. George, Esq.
                             Brittany L. Brown, Esq.
                             GEORGE GESTEN MCDONALD, PLLC
                             9897 Lake Worth Road, Suite #302
                             Lake Worth, FL 33467
                             Phone: (561) 232-6002
                             Fax: (888) 421-4173
                             Email: DGeorge@4-Justice.com
                             E-Service: eService@4-Justice.com

                             Counsel for Elizabeth Agramonte, Shannon
                             Fitzgerald, Robyn Moore, Crista Hazely and
                             Vanessa Mathiesen




                             3
